                                    Case 5:21-cv-00269-JLS Document 1-1 Filed 01/20/21 Page 1 of 2
JS44       (Rev.   ro/20)                                                            cIV[                COVER SHEET
                                                                                        filing and service ofpleadings or other papers as required by law, except
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the                                                                                                                            as
providedbylocalrulesofcourt. Thisform,approvedbytheJudicialConferenceoftheUnitedStatesinSeptemberl9T4,isrequiredfortheuseoftheClerkofCourtforthe
       of         the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
     (a) PLAINTIFFS                                                                                                          DEFENDANTS
              Justin Fassnacht                                                                                                Home Depot U.S.A., lnc.
     (b)     County of Residence of First Listed Plaintiff                  Berks County, PA                                 County of Residence of First Listed Defendant                      Atlanta. GeOfOia
                               (EXCEPT IN U,S, PLAINTIFF                   CASES)                                                                         (IN U,S. PLAINTIFF CASES ONLY)
                                                                                                                             NOTE:            IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                              THE TRACT OF LAND INVOLVED.

     (C)     Attorneys (Firm     Name, Address, and Telephone Number)                                                         Attomeys (lf Known)
             Ari R. Karpf, Karpf, Karpf, Cerutti, PC, 3331 St. Rd.                                                            Clara H. Rho, Epstein Becker & Green PC, One Gateway
              Two Greenwood, Ste. 128, Bensalem, PA 19020, ph                                                                 Ctr., 13th Fl., Newark, NJ 07102, ph: 973-642-1900
II.     BASIS OF JURISDICTION                             (Ptace an   "x" in one   Box onty)                     CITIZENSHIP OF PRINCIPAL PARTIES                                                (Ptøce an "x" ìn one Boxfor PtaintìJf
                                                                                                                          (For Diversity Cases        Only)                                      and One Boxfor Defendønt)
! I        u.s. covement                 !3        Federal Question                                                                                     PTF             DEF                                          PTF       DEF
              Plaintiff                               (U.5. Government Not a Pørty)                              Citizen ofThis State                    [r         !     r   Incorporatcd or Principal Place
                                                                                                                                                                                 ofBusiness In This Ståte
                                                                                                                                                                                                                     !+ [+
lz         U.S. Govemment
              Dcfendant
                                         [+        oiversity
                                                      (Indicaæ Citizenship ofPqrties in Item          III)
                                                                                                                 Citizen of Another Statc                lz         @z        Incorporated and Principal Place
                                                                                                                                                                                 of Business In Another State
                                                                                                                                                                                                                     !s Is
                                                                                                                 CitizenorSubjectofa !:                             !     3   ForeignNation                          Io !o
IV. NATURE OF SUIT                                an "X" in One Box                                                                                           Click here for:
              contrnacT                                                    TÍIRTS                                    F(}RF'EIII'Nh/PENAI,TY                             BÁNKRT'ÞTCV                      íìTHNN STATINTì"q
     I l0 Insurance                         PERSONAL INJURY                         PERSONAL INJURY              1625      Drug Related Seirure                     422 Appcal 28 USC 158              375 False Claims Act
     120 Muine                              310 Airplanc                     [     365 Personal     Injury   -             ofProperry 2l USC 881                    423 Withdrawal                     376 Qui Tam (3 I USC
     130 Miller Act                         3   l5 Airplane Product                    Product Liability         ]   olo other                                          28 USC l5?                         3729(a))
     140 Negotiable Instrument                     Liability                 n     367 Healrh Carel                                                                                                    400 State Reapportionment
     150 Recovery of Overpåyment            320 Assault, Libel &                       Pharmaceutical                                                                                                  410 Antitrust
         & Enforcement of                       Slander                                  Personal Injury                                                            820 Copyrights                     430 Banks and Banking
     l5l Medicâre Act                       330 Federal Employers'                       Product Liability                                                          830 Patent                         450 Commerce
E    152 Recovery of Defaulted                     Liability
                                            340 Marine
                                                                             !     368 Asbestos Penonal
                                                                                     Injury Product
                                                                                                                                                                    835 Patent - Abbreviated
                                                                                                                                                                        New Drug Application
                                                                                                                                                                                                       460 Deportâtion
            Student Loans                                                                                                                                                                              4?0 Racketeer Influenced and
            (Excludes Vetemns)              345 Marine Product                       Liability                                                                      840 Trademark                          Compt Organizations
!    153 Recovery ofOverpayment                    Liability                   PERSONAL PROPERTY                                  r.anflp                           880 Defend Trade Secrets           480 Consumer Crcdit
           ofVeteran's Benefits             350 Motor Vehicle                l-l 370 other Fraud                 I   7   l0 Fair Labor       Standards                   Act of20l6                        (15 USC 168l or 1692)
     160 Stockholde¡s' Suits                355 Motor Vehicle                !:zt rrutl in Lending                          Act                                                                        485 Telephone Consumer
    I   90 Other Contract                         Product Liability          ! 380 other Personal                ]   720 Labor/Management                                                                  Protection Act
    195 Contmct Product Liãbility           360 Othe¡ Personal                         Property Damâge                   Relations                            :lI   861 HrA (l39sfÐ                    490 Cable/Sat TV
    196 Franchise                                 Injury
                                            362 Pcrsonal Injury -
                                                  Medical
                                                                             !     385 eroperty oamage
                                                                                       Product Liability         l   740 Railway Labor Act
                                                                                                                     751 Family and Mcdical
                                                                                                                            Leave Act
                                                                                                                                                              j     862 Black Lung (923)
                                                                                                                                                                    863 DIwC/DIww (405(g)
                                                                                                                                                                    864 SSID TitIE XVI
                                                                                                                                                                                                       850 Securities/Commodities/
                                                                                                                                                                                                           Exchangc
                                                                                                                                                                                                       890 Other Statutory Actions
                                                                                                                 l   790 Othcr Labor Litigation               l     86s RSI (405(g))                   891 Agricultural Acts
    210 Land
    220 Fo¡eclosure
                                            440
                                            441
                                                  Other Civil Rights
                                                  Voting
                                                                                   Habcas Corpus:
                                                                                   463 Alien Detainee
                                                                                                                 l   791 Employee Retirement
                                                                                                                           Income Security Act
                                                                                                                                                                                                       893 Environmental Matters
                                                                                                                                                                                                       895 Freedom of Infomation
    230 Rent Lease & Ejcctment          x   442 Employment                         510 Motions to Vacalc                                                      __l   870 Taxes (U.S. Plâintiff              Act
    240 Torts to Land                       443 Housing/                                 Sentence                                                                       or Defendant)                  896 Arbitration
    245 Tort Product Liability                  Accommodations                     530 General                                                                ]     szt tns-rntra lutty                899 Administrative Procedure
    290 Al1 Other Real Property             445 Amer. øDisabilities                535 Death Penalty                        IlvlÙlI(:I'AT'Tf     IN                      26 USC 7609                       Act/Rcview or Appeal of
                                                Employmcnt
                                            446 Amer. øDisabilities
                                                Other
                                                                                   Other:
                                                                                   540
                                                                                   550
                                                                                         Mandamus & Other
                                                                                         Civil Rights
                                                                                                                 j   462 Natunlization Application
                                                                                                                     465 Other Immigration
                                                                                                                           Actions
                                                                                                                                                                                                           Agency Decision
                                                                                                                                                                                                       950 Constitutionality of
                                                                                                                                                                                                           Stãte Statutes
                                            448 Education                          555   Prison Condition
                                                                                   560   Civil Detainee -
                                                                                         Conditions of
                                                                                         Confinement
V. ORIGIN (Place an "X" in one Box only)
.- I
¡1         Original
           Proceeding
                                    Removed from
                                    State Court
                                                                  -l 3 Remandedfrom Tl4 Reinstatedor ¡1
                                                                       Appellale Court  Reopened
                                                                                                                                                5 Transferredfrom
                                                                                                                                                   Another District
                                                                                                                                                                              r-r
                                                                                                                                                                              TJ
                                                                                                                                                                                  6    Multidistrict
                                                                                                                                                                                       Lrtlgatron -
                                                                                                                                                                                                            !    8 Multidistrict
                                                                                                                                                                                                                   Litigation -
                                                                                                                                                                                       Transfer                    Direct File
                                                Cite the U.S. Civil Statute under which you are frling (Do not                    cite   juilsdìctìonal statates unless diversìty)
                                                   U.S.C. 1332 a¡d 1441
VI.        CAUSE OF ACTION Brief                                       of cause:
                                                                             in violation of Pennsylvania Medical Marijuana Act and common law wrongful discharge

VII.        REQUESTED IN                      !     CHNCT IF THIS IS A CLASS ACTION                                  DEMAND              $                                CHECK YES only if demanded in complaint:
     COMPLAINT:                                     UNDER RULE 23, F.R.Cv.P.                                         in excess of 975,000                                 JURYDEMAND: EY".                           NNo
vrrr. RELATED CASE(S)
                                                   (See   ìnstructìons):
      IF ANY                                                                  JUDGE                                                                                 DOCKET NUMBER


January 20,2021
I'OR OFFICE USE ONLY

    RECEIPT #                        AMOLTNT                                             APPLYING IFP                                            JUDGE                                  MAC. JUDGE
                               Case 5:21-cv-00269-JLS Document 1-1 Filed 01/20/21 Page 2 of 2
JS   44 Reverse (Rev. 10/20)


                        INSTRUCTIONS FOR ATTORNEYS COMPLETING                                   CIVI      COVER SHEET F'ORM JS 44
                                                                  Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service ofpleading or other papers as
required by law, except as provided by local rules ofcourt. This form, approved by the Judicial Conference ofthe United States in September 1974,is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk    of
Court for each civil complaint filed. The attomey filing a case should complete the form as follows:

I.(a)      Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
           only the full name or standard abbreviations. Ifthe plaintiffor defendant is an official within a government agency, identiS first the agency and then
           the official, giving both name and title.
     (b)   CountyofResidence. Foreachcivilcasefiled,exceptU.S.plaintiffcases,enterthenameofthecountywherethefirstlistedplaintiffresidesatthe
           time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
           condemnation cases, the county ofresidence of the "defendant" is the location of the hact of land involved.)
     (c)   Attorneys. Enter the firm name, address, telephone number, and attomey of record. If there are several attomeys, list them on an attachment, noting
           in this section "(see attachment)".

II.        Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires   that jurisdictions be shown in pleadings. Place an "X"
           in one ofthe boxes. Ifthere is more than one basis ofjurisdiction, precedence is given in the order shown below.
           United States plaintiff. (l) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers ofthe United States are included here.
           United States defendant. (2) When the plaintiff is suing the United States, its offìcers or agencies, place an "X" in this box.
           Federal question. (3) This refers to suits under 28 U.S.C. 133 l, where jurisdiction arises under the Constitution of the United States, an amendment
           to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S, is a party, the U.S. plaintiff or defendant code takes
           precedence, and box   I   or 2 should be marked.
           Diversity of citizenship. (4) This refers to suits under 28 U.S.C, 1332, wherc parties are citizens of different states. When Box 4 is checked, the
           citizenship ofthe different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
           cases.)

III.       Residence (citizenship) of Principal    P¡rties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
           section for each principal party.

ry         Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
           that is most applicable. Click here for: @.

v.         Origin.  Place an "X" in one of the seven boxes.
           Original Proceedings, (1) Cases which originate in the United States district courts.
           Removed from State Court. (2) Proceedings initiated in stato courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
           Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of ¡emand as the filing
           date.
           Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the dishict court. Use the reopening date as the filing date.
           Transferred from Another Dishict. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within dishict transfers or
           multidistrict litigation transfe¡s.
           Multidishict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the dishict under authority of Title 28 U.S.C.
           Section 1407.
           Multidishict Litigation - Direct File. (8) Check this box when a multidishict case is filed in the same district as the Master MDL docket.
           PLEASE NOTE THAT TIIERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
           changes in statue.

VI.        Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
           statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.       Requested in Complaint. Class Action. Place an "X" in this box if you are fìling a class action under Rule 23, F.R.Cv.P.
           Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
           Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.      Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
           numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cove¡ sheet.
